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1
                            UNITED STATES DISTRICT COURT
2                               DISTRICT OF COLUMBIA
3

4    TEKWAY, INC., an Illinois corporation,
     4104 Sterling Road
5    Downers Grove, IL 60515
6
      Plaintiffs,
7
            vs.
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9
     UNITED STATES CITIZENSHIP AND
     IMMIGRATION SERVICES,
10   20 Massachusetts Ave NW,                     Case No. 19-cv-00348-BAH
     Washington DC 20529
11
                                                  VOLUNTARY DISMISSAL
12

13                          Defendant.

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              Case 1:19-cv-00358-BAH Document 12 Filed 08/25/19 Page 2 of 2



1    To the Clerk:

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3
     TAKE NOTICE:
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5
     This action is dismissed by the Plaintiff in its entirety. The dismissal is made pursuant to Rule
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7    41(a) of the Federal Rules of Civil Procedure.

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     Respectfully submitted this 25th day of August, 2019
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12

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     Michael E. Piston
14   Attorney for Plaintiffs
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     Fax: 206-770-6350
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